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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

                                  )
MARK GILBERT,
                                  )
         Plaintiff,
                                  )
                                  )
             v.
                                  )
                                  )       C.A. No. 3:16-cv-30024-MAP
THE CITY OF CHICOPEE,
                                  )
WILLIAM JEBB, JOHN
                                  )
PRONOVOST, RICHARD J.
                                  )
KOS, et al.
                                  )
         Defendants.
                                  )



                     MEMORANDUM AND ORDER REGARDING
                     DEFENDANTS’ MOTIONS TO DISMISS
                       (Dkt. Nos. 73, 75, and 77)

                             November 14, 2017

PONSOR, U.S.D.J.

                             I.       INTRODUCTION

    Plaintiff Mark Gilbert, a police officer in the City of

Chicopee, has brought this eight-count complaint against the

City of Chicopee, Police Chief William Jebb, Mayor Richard

J. Kos, and fellow Police Officer John Pronovost.1                All

Defendants have moved to dismiss.             For the reasons set forth


     1
      Defendants Jane and John Doe are also named in the
caption of Plaintiff’s complaint, but they are not mentioned
in its body. The claims against them will therefore be
dismissed.
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below, Defendants’ motions to dismiss Counts 1 and 2, as

well as the motion to dismiss all claims against Defendant

Kos, will be allowed with prejudice.          These rulings will

dispose of the complaint’s federal claims.           The motions to

dismiss the state law claims against the two remaining

individual Defendants, Jebb and Pronovost, will also be

allowed, but without prejudice to their refiling in state

court, if Plaintiff wishes.

                           II.   BACKGROUND

    At the motion to dismiss stage, Plaintiff's

well-pleaded facts must be taken as true, with all

reasonable inferences drawn in his favor.           Shay v. Walters,

702 F.3d 76, 78 (1st Cir. 2012).         The facts are drawn from

Plaintiff's Amended Complaint and supporting exhibits. (Dkt.

No. 72.)

    Weighing the motions to dismiss in light of the facts

as set forth in the complaint has not been an easy task.

The complaint wavers back and forth chronologically and

sometimes offers disconnected narratives, with links between

the factual allegations and Plaintiff's supposed injuries

often difficult to discern.        The court previously struck one


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version of the amended complaint based on its appalling

number of typos, grammatical lapses, and obscurities.                   (Dkt.

No. 71.)      The current document has been cleaned up to some

extent, but it remains very difficult to follow.                The

summary below is the court’s best effort to give the

complaint’s factual narrative some coherence.

    Over at least the past decade, Plaintiff has been a

police officer for the City of Chicopee.              Defendants Jebb

and Pronovost were fellow officers during this time.                   In

2007, Defendant Pronovost fell into a depression after his

wife died, and he began behaving strangely at work.                   At some

point, Plaintiff complained about this behavior to Defendant

Jebb, who was at the time Captain of his shift.                Nothing was

done in response to Plaintiff’s complaint.              Thereafter, on

an unspecified date in December, Plaintiff and Pronovost got

into an argument about Pronovost’s behavior.               During the

interchange, Pronovost allegedly pulled out his gun and

pointed it at Plaintiff.          Plaintiff verbally reported the

incident to his commanding officer Thomas Charette.2                  Again,


     2
      Plaintiff alleges that Defendant Jebb was in the room
with Plaintiff and Pronovost during this incident. However,
Defendant Jebb disputes Plaintiff’s version, stating that
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nothing was done.

    In 2012, Plaintiff was promoted to the rank of Captain,

and Charette was appointed Acting Police Chief.             Defendant

Jebb, also a candidate for Acting Police Chief, allegedly

resented Charette and other police officers, including

Plaintiff, who he believed had supported Charette's

appointment.

    That same year, certain Chicopee Police Officers

responding to a murder scene took pictures of the victim’s

body and shared them with one another and with civilians

outside the police department in violation of department

regulations.    At the time, Defendant Jebb was the Internal

Affairs Investigative Officer tasked with investigating this

incident.   Jebb concluded that only one officer was

responsible for the improper conduct, and he failed to

recommend, in Plaintiff’s view, a sufficiently stringent

sanction.

    At some point in the 2012-2013 time frame, the

investigation into the murder scene misconduct by Chicopee



the event in question "never happened.”           (Dkt. No. 67-5 at
15.)
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Police Officers resumed.          This time the inquiry included an

incident where photographs of the murder victim’s corpse

were allegedly displayed to civilians outside the police

department at a football game.

    In May 2013, Jebb was relieved of his duties with

Internal Affairs, and he himself became a target of an

investigation into his conduct as the Internal Affairs

Investigative Officer.         This second investigation focused,

in part, on allegations that Jebb failed to look into sexual

harassment charges against several officers.               It also looked

into whether Jebb had properly investigated the officers who

had distributed the gruesome photographs from the murder

scene.

    Jebb had made an unsuccessful bid for the office of

President of the Police Union in 2013, and the complaint

refers to an allegation that he improperly numbered the

ballots in that election in order to be able to identify

which officers supported him and which supported his

opponent, Sgt. Dan Major.          Finally, Defendant Jebb was also

accused of hiding evidence to thwart an internal

investigation into allegations that Sgt. Major had choked a


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prisoner.3      Plaintiff Gilbert had been the investigating

officer for the Major investigation, and he had recommended

no discipline be taken against Sgt. Major.

    If the above summary comes across as a meandering tale

of a sadly overwrought and contentious workplace, then it

has accurately presented the tenor of the complaint.

Plaintiff characterizes his participation in the ongoing

investigations to include "provid[ing] information and

participat[ing] in activity which focused on Police Chief

William Jebb's conduct and practices of implementing less

than proper discipline towards his friends and retaliating

against those he was not friends with; and those who did not

vote for him to be the Union President."              (Dkt. No. 67-2 at



     3
      Plaintiff’s complaint implies that these charges
formed part of the investigation(s) then pending against
Jebb and not merely allegations on Plaintiff’s part offered
in this litigation. (Dkt. No. 72 at 3-4.) Although the
complaint is ambiguous on this point, Defendants Jebb and
Kos’s Memoranda in support of their Motions to Dismiss
clarify the context to some extent. Jebb’s Memorandum notes
that Plaintiff made “written statements and testimony ... to
a government investigator relating to Jebb’s alleged
mishandling of ballots”. (Dkt. No. 28 at 1.) Kos’s
Memorandum observes that Plaintiff, “as a police captain and
internal affairs investigator had investigated Chief Jebb’s
removal of evidence from the booking room.” (Dkt. No. 23 at
11.)
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1.)

      In July 2013, then-Acting Police Chief Charette asked

Plaintiff to draft and file a written incident report about

the episode six years earlier when Defendant Pronovost had

threatened Plaintiff with his gun.          Plaintiff did so.       The

report was technically late, in violation of Department

policy, but Charette did not discipline Plaintiff, as

Plaintiff had verbally reported the incident to Charette and

another of his immediate supervisors at the time it

occurred.

      According to Plaintiff, Defendant Jebb was unhappy with

Plaintiff's participation in the ongoing investigation of

the gun incident and possibly other incidents.             On October

15, 2013, Plaintiff received a phone call from Defendant

Jebb in which the latter told him, "You have no idea about

internal affairs, but you are going to learn.             I am

definitely without a doubt going to win my appeal [regarding

his having been passed over for Acting Chief] and when I do,

your [sic] fucked."      (Dkt. No. 67-3 at 1.)

      In 2014, Defendant Mayor Kos appointed Defendant Jebb

as Police Chief.      Plaintiff alleges that thereafter Jebb


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"began changing [Plaintiff's] terms and conditions of

employment and engaged in a concerted effort to have

criminal charges initiated against [Plaintiff]."             (Dkt. No.

72 at 9.)   Plaintiff claims Defendant Jebb ordered him off

all of his overtime details, citing as a reason Plaintiff’s

filing of a false police report in regard to the 2007 gun

incident.   Plaintiff claims that Defendant Jebb repeatedly

"initiat[ed] pretextual discipline" against him, but he does

not provide details or state when this occurred.             In any

event, the complaint specifies no disciplinary sanctions

resulting from these proceedings.

    Around this time, according to the complaint, Defendant

Jebb met with Defendants Kos and Pronovost as part of a

conspiracy to bring retaliatory criminal charges against

Plaintiff and Charette.      Charges were eventually brought

against Plaintiff in Holyoke District Court, perhaps for

filing a False Police Report.           It is difficult to tell from

the complaint, which does not provide a date these charges

were brought, what exactly those charges were, or how the

criminal case resolved.      Count 4 in the complaint states

that Plaintiff was charged with Filing a False Police


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Report, which presumably is the criminal case Plaintiff is

referring to.      Additionally, Plaintiff states that the

"process terminated in [his] favor," (Dkt. No. 72 at 17.)

though it is not clear if that means he was acquitted of the

charge after a trial or the charge was dropped.

       The show-cause hearing on March 16, 2015, regarding the

application for the criminal complaint against Plaintiff,

appears to have degenerated into a chaos of accusations and

counter-accusations.        The Chicopee Police Department was

described by several parties testifying that day as

"fragmented," plagued by "mean spirited division," and

divided into "factions."         (Dkt. No. 67-5 at 22, 36, and 51.)

In his testimony, former Chief Charette characterized his

relationship with Defendant Jebb as "[h]orrible."               (Id. at

34.)    Defendant Jebb during his own testimony said that

"Charette and his gang all engaged in a character

assassination" of him.        (Id. at 16 and 19.)        Jebb also

testified that certain officers had "jeopardized their

integrity, [had] made false statements, and [were] going to

be held accountable for those statements."             (Id. at 17.)

Defendant Jebb stated that Plaintiff Gilbert had mishandled


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the investigation into Sgt. Major's choking episode, and

that this was "one of the issues" that could require

disciplinary action.     (Id. at 27.)

    During the show-cause hearing it also came to light

that Plaintiff was one of several officers "being sued

individually and as part of the Chicopee Police Department"

in a federal lawsuit.4     (Id. at 30.)      Defendant Jebb further

testified that disciplinary proceedings would likely be

initiated against Plaintiff Gilbert, but that, "[a]t the

advice of the city, [he was] waiting patiently" for pending

legal matters to resolve.      (Id. at 27.)      According to

Plaintiff, disciplinary proceedings were initiated against

him after the show-cause hearing.         Again, no specifics are

offered as to what these were or what the outcome was.

    On February 4, 2016, Plaintiff brought this complaint

in eight counts:

    Count 1: a claim under 42 U.S.C. § 1983 and Mass. Gen.

Laws ch. 12, § 11H against the individual Defendants for



     4
      Plaintiff, along with several other officers, was a
named defendant in a federal lawsuit stemming from the
incident with the prisoner. The case, Maldonado v. Major,
et al, 3:15-cv-30022-MAP, was settled on August 27, 2015.
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retaliation against him for exercising his First Amendment

rights to speak on a matter of public concern and for due

process rights violations;

    Count 2: a claim under 42 U.S.C. § 1983 against the

City of Chicopee for maintaining policies and customs that

resulted in the violation of Defendant's First Amendment

rights;

    Count 3: a claim under Mass. Gen. Laws ch. 149, § 185

(the Whistleblower Statute) against the City, Jebb, and Kos

for taking retaliatory actions against Plaintiff;

    Count 4: a common law claim for Abuse of Process

against the individual Defendants;

    Count 5: a common law claim for Defamation against the

individual Defendants;

    Count 6: a common law claim for Intentional Infliction

of Emotional Distress against the individual Defendants;

    Count 7: a common law claim for Malicious Prosecution

against the individual Defendants; and

    Count 8: a common law claims for Civil Conspiracy

against the individual Defendants.

    In response to Plaintiff’s initial complaint,


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Defendants filed motions to dismiss.           (Dkt. Nos. 73, 75, and

77.)    Plaintiff responded to these motions both with a

substantive opposition and with a motion to amend.                The

court allowed the motion to amend on March 7, 2017, and

denied the pending motions to dismiss, without prejudice to

refiling once the amended complaint arrived.             As noted

above, the court struck Plaintiff’s first try at an amended

complaint based on its extreme sloppiness.             In response to

the new amended complaint (Dkt. No. 72.), Defendants City

and Kos, Jebb, and Pronovost have once more filed separate

motions to dismiss for failure to state a claim.              (Dkt. Nos.

73, 75, and 77.)

                            III.   DISCUSSION

       In addressing a motion to dismiss, a court employs a

two-pronged approach.       Ocasio-Hernandez v. Fortuno-Burset,

640 F.3d 1, 12 (1st Cir. 2011).          The analysis begins by

identifying and disregarding portions of the complaint that

merely offer "[t]hreadbare recitals of the elements of a

cause of action" or "legal conclusion[s] couched as . . .

factual allegation[s]."        Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Bell Atlantic Corp. v. Twombly et al,


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550 U.S. 554, 555 (2007)).          A plaintiff is not entitled to

"proceed perforce" by virtue of allegations that merely

parrot the elements of the cause of action.

Ocasio-Hernandez, 640 F.3d at 12 (quoting Iqbal, 556 U.S. at

680).    Thereafter, non-conclusory factual allegations in the

complaint must be treated as true and weighed for

sufficiency.      If the complaint’s substantive factual content

"allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged," the claim

has facial plausibility.         Iqbal, 556 U.S. at 679.         The

reviewing court may not disregard properly pled factual

allegations, "even if it strikes a savvy judge that actual

proof of those facts is improbable."            Twombly, 550 U.S. at

556.

       The customary analysis of the motions to dismiss here

has been handicapped, as noted, by the disjointed factual

allegations, but also by the complaint’s broad conclusory

language.     For example, the complaint says that "Defendant

Pronovost's purpose [in pursuing charges against Plaintiff]

was not to redress any alleged criminal conduct, but to

retaliate against those who opposed Defendant Jebb."                   (Dkt.


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No. 72 at 11.)    Important details confusingly appear for the

first time only after the Statement of Facts.            For example,

a reference to an email sent by Defendant Jebb regarding one

“Lieutenant Watson” on September 12, 2014, appears out of

the blue in the text of Count 3.        (Id. at 16.)      Finally,

critical factual details, such as the timing and nature of

the supposed "pretextual discipline" are simply absent from

the complaint.

    The discussion below will begin with the constitutional

claim the complaint attempts to offer in Count 1 against all

the individual Defendants for alleged violations of

Plaintiff's First Amendment rights.         It will then proceed to

an analysis of the constitutional claim set forth in Count 2

against the City for a policy and custom that resulted in

the violation of Plaintiff's Fourth and Fourteenth Amendment

rights.   As will be seen, whatever else may lurk in the

complaint’s text, it contains woefully insufficient support

for any cause of action under the United States

Constitution.    Given this, the court will allow Defendants’

motions to dismiss Counts 1 and 2 with prejudice.             Because

the allegations against Defendant Kos are so entirely


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speculative and conclusory, in violation of the Twombly and

Iqbal standard, the court will dismiss the complaint against

this Defendant with prejudice as well.          The purely state law

claims against the two remaining individual Defendants, Jebb

and Pronovost, will be dismissed, as an exercise of the

court’s discretion, without prejudice to their refiling in

state court, if Plaintiff wishes to pursue them.

A. Count 1: First Amendment Claims Against the Individual
Defendants
     To make out a prima facie case of a First Amendment

violation, Plaintiff must show that "(1) [he] spoke on a

matter of public concern; (2) [his] interest in the speech

outweighed any countervailing governmental interest in

promoting the efficient performance of the service provided

by its employees; and (3) the protected speech was a

substantial or motivating factor in an adverse employment

decision."   Kruger v. Cressy, 201 F.3d 427 (1st Cir. 2000)

(table) (quoting Wytrwal v. Saco School Bd., 70 F.3d 165,

170 (1st Cir.1995)).

    Plaintiff's claim founders at the first prong.              Whether

an employee's speech addresses a matter of public concern

must be determined by the content, form, and context of the


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statement in question, as determined by the record.              Connick

v. Myers, 461 U.S. 138, 147-48 (1983).          Speech made pursuant

to official duties is generally not protected speech.

Garcetti v. Ceballos, 547 U.S. 410 (2006).           As a rule, "when

a public employee speaks not as a citizen upon matters of

public concern, but instead as an employee upon matters only

of personal interest, absent the most unusual circumstances,

a federal court is not the appropriate forum in which to

review the wisdom of a personnel decision taken by a public

agency allegedly in reaction to the employee's behavior."

Connick, 461 U.S. at 147 (emphasis added).

    Further refining the test for protected speech by an

employee under the First Amendment, the Supreme Court has

held, "Truthful testimony under oath by a public employee

outside the scope of his ordinary job duties is speech as a

citizen for First Amendment purposes.          That is so even when

the testimony relates to his public employment or concerns

information learned during that employment."           Lane v.

Franks, 134 S. Ct. 2369, 2378 (2014) (emphasis added).

Presumably with an eye on Lane, Plaintiff contends that his

participation in the investigation initiated by the City of


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Chicopee into Defendant Jebb's conduct as Investigative

Officer "was not part of the Plaintiff's regular or routine

duties as a Chicopee Police Officer."           (Dkt. No. 72 at 7.)

      As a preliminary matter, the analysis of Plaintiff’s

free speech claim is handicapped by a lack of specificity

regarding exactly what “speech” the complaint is referring

to.   This is not a case where Plaintiff wrote a letter or

spoke out at a public meeting.          Exactly what Plaintiff said,

and when, is left very vague.         No suggestion is made that he

testified under oath pursuant to a subpoena as in Lane.

      Even if the court could locate specific speech, the

complaint makes clear that whatever expression occurred was

offered in the context of Plaintiff’s employment.

Plaintiff’s cooperation with the investigation into his

coworkers' conduct was "ordinarily within the scope" of his

job duties.    Lane, 134 S. Ct. at 2373.         Significantly,

Plaintiff emphasizes, as to the report he authored, that he

was "ordered to provide testimony and information with a

government investigation."        (Dkt. No. 72 at 15.)       Speech

made in response to a command by a supervisor is manifestly

not speech made in an individual's capacity as a private


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citizen.   Decotiis v. Whittemore, 635 F.3d 22, 32 (1st Cir.

2011).

    Decotiis lays out several "non-exclusive factors" that

may suggest a distinction between speech by a public

employee in a professional versus a private capacity.              These

include:

    whether the employee was commissioned or paid to make
    the speech in question, Garcetti, 547 U.S. at 421; the
    subject matter of the speech, Id. at 421 (citing Givhan
    v. W. Line Consol. Sch. Dist., 439 U.S. 410, 414
    (1979)); whether the speech was made up the chain of
    command, see Id. at 420; whether the employee spoke at
    her place of employment, see Brammer-Hoelter v. Twin
    Peaks Charter Acad., 492 F.3d 1192, 1205 (10th Cir.
    2007); whether the speech gave objective observers the
    impression that the employee represented the employer
    when she spoke (lending it "official significance"),
    Foley v. Town of Randolph, 598 F.3d 1, 7-8 & n.9 (1st
    Cir. 2010); whether the employee's speech derived from
    special knowledge obtained during the course of her
    employment, see Williams v. Dallas Ind. Sch. Dist., 480
    F.3d 689, 694 (5th Cir. 2007); and whether there is a
    so-called citizen analogue to the speech, Garcetti, 547
    U.S. at 423.

    Id. at 32.

    The speech in question here (to the extent it can be

identified) derived from special knowledge obtained during

the course of employment, at Plaintiff’s place of

employment, and was intended to go up the chain of command.

It was indisputably offered in Plaintiff's capacity as a

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police officer and public employee, and not as a private

citizen. Given this, a cause of action for violation of the

First Amendment simply does not lie, and Count 1 must be

dismissed with prejudice.

B.   Count 2: the Constitutional Claim Against the City
     To state a claim for municipal liability under 42

U.S.C. § 1983, a plaintiff must offer sufficient facts to

permit the court to identify an unconstitutional custom or

policy of the city that was “the 'moving force' behind the

injury alleged."    Haley v. City of Boston, 657 F.3d 39, 51

(1st Cir. 2011) (quoting Bd. of Cnty. Comm'rs of Bryan City

v. Brown, 520 U.S. 397, 403-4 (1997) (internal quotation

omitted).

     To satisfy this standard, Plaintiff alleges in

conclusory terms that the City of Chicopee "[b]y its action,

inaction and deliberate indifference . . . knowingly,

willfully and intentionally allowed a policy and custom to

exist which resulted in violations of Plaintiff's rights

under the First Amendment" and under Massachusetts law, as

well as in his "due process rights of having a protected

property interest in his continued employment." (Dkt. No. 72

at 14.)

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    In connection with the municipal liability claim,

Plaintiff also alleges that Defendant Mayor Kos, "as the

final policy maker, participated and acquiesced to the

policy and practices of Defendant City of Chicopee."              (Dkt.

No. 72 at 15.)     The allegation is offered despite the

undisputed fact that Kos took office in January 2014, well

after many of the events identified in the complaint took

place.

    While the complaint conveys Plaintiff’s sense of

grievance about general misconduct at his place of

employment and the repercussions for him, exactly what

municipal custom or policy this course of conduct expressed

and how it caused any constitutional injury is left to

speculation.     No particular pattern of behavior having

impact beyond Plaintiff himself is alleged.           Given the

failure to articulate a specific municipal custom or policy,

or to offer concrete allegations demonstrating its

existence, Defendant City’s motion to dismiss Count 2 must

be allowed.

C. Defendants’ Motions on Counts 3-8

    As a general rule, where a plaintiff's federal claims


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are dismissed at an early stage of the litigation, the court

should, as a matter of discretion, dismiss supplemental

state-law claims without prejudice to their refiling in

state court.    Rodriguez v. Doral Mortg. Corp., 57 F.3d 1168,

1177 (1st Cir. 1995) (citing United Mine Workers v. Gibbs,

383 U.S. 715, 726 (1966)).       Based on this rule, Plaintiff's

claims under state law, with one exception, will be

dismissed without prejudice.

    The exception will be the claims against Defendant Kos.

It is well established that a complaint must be dismissed if

it tenders "naked assertion[s]" devoid of "further factual

enhancement."   Iqbal, 556 U.S. at 678 (quoting Twombly, 550

U.S. at 577).   As to Kos, the complaint relies entirely on

conjecture and speculation and fails to marshal any facts

that could support a viable cause of action against him.               As

noted, much of the complaint refers to events occurring

before Kos became Chicopee’s mayor.         For this reason, the

motion to dismiss the state law claims against this

Defendant will be allowed, with prejudice.

                          IV.   CONCLUSION

    For the reasons set forth above, Defendants’ motions to


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dismiss (Dkt. Nos. 73, 75, and 77) are hereby ALLOWED as to

all counts.   The dismissals as to Counts 1 and 2, and as to

the claims against Defendant Kos, are WITH PREJUDICE. The

dismissals as to Counts 3-8 against Defendants Jebb and

Pronovost are WITHOUT PREJUDICE to their refiling in state

court, if Plaintiff wishes.       This case may now be closed.

    It is So Ordered.

                            /s/ Michael A. Ponsor
                                MICHAEL A. PONSOR
                                U.S. DISTRICT JUDGE




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